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 9
                        IN THE UNITED STATES DISTRICT COURT
10
11                   FOR THE NORTHERN DISTRICT OF CALIFORNIA

12                              SAN FRANCISCO DIVISION
13
14   DR. HERMAN TULL, PH.D., et al.,            Case No. 3:21-cv-01574-AGT

15                Plaintiffs,                   ADMINISTRATIVE MOTION TO
16                                              EXTEND TIME TO RESPOND TO THE
                v.                              COMPLAINT
17
18   MICHAELA HIGGINS,

19                Defendant.
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        ADMINISTRATIVE MOTION TO EXTEND TIME TO RESPOND TO THE COMPLAINT
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 1         Pursuant to Federal Rule of Civil Procedure 6(b) and Civil Local Rules 6-3 and
 2   7-11, Defendant Michaela Higgins hereby files this Administrative Motion to Extend
 3   Time to Respond to the Complaint. As explained below, Defendant requests that the
 4   Court extend Defendant’s deadline to answer or otherwise respond to the Complaint in
 5   this matter, currently set for March 29, 2021, by 30 days, until April 28, 2021.
 6                                         BACKGROUND
 7         Defendant Michaela Higgins is currently facing two related lawsuits in this
 8   District: this case and Jasha Tull v. Michaela Higgins, Case No. 4:21-cv-01566-DMR
 9   (N.D. Cal.) (collectively, “Tull v. Higgins lawsuits”). Plaintiffs in the Tull v. Higgins
10   lawsuits filed both complaints on March 5, 2021, and effectuated service on Ms. Higgins
11   on March 8, 2021. Dkt. Nos. 1 and 7; Case No. 21-cv-1566, Dkt. Nos. 1 and 7. As a result,
12   Ms. Higgins’s deadline to answer or otherwise respond to each of the Complaints is
13   currently March 29, 2021.
14         On March 17, 2021, this Court filed a sua sponte judicial referral for purpose of
15   determining relationship of cases to determine whether this case is related to Tull v.
16   Higgins (the low-numbered case). Dkt. No. 9. On March 18, 2021, Plaintiffs filed their
17   consent to proceed before a magistrate judge in Tull v. Higgins, and on March 19, 2021,
18   Plaintiffs filed their consent to proceed before a magistrate judge in this case. Dkt. No. 10;
19   Case No. 21-cv-1566, Dkt. No. 12.
20         At the time that Ms. Higgins was served, she did not have legal representation and
21   did not expect to be sued. Despite being an unsophisticated legal actor, Ms. Higgins
22   reached out to potential counsel the next day to discuss the cases and potential
23   representation of her by counsel. Declaration of Karen Barth Menzies (“Menzies Decl.”), ¶
24   5. During the March 9 call, Ms. Menzies informed Ms. Higgins that counsel would review
25   the Tull v. Higgins lawsuits and determine whether Gibbs Law Group (“GLG”) could
26   competently represent her. Id., ¶ 6. Over the next two weeks, GLG worked diligently to
27   review the extensive factual and legal issues in the cases and to discuss potential
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 1   representation of Ms. Higgins with potential co-counsel regarding these matters. Id., ¶¶
 2   7-8.
 3           On March 23, 2021, Ms. Menzies contacted counsel for Plaintiffs to request a 30-
 4   day extension of Ms. Higgins’s deadline to respond to the complaints in the Tull v.
 5   Higgins lawsuits. Id., ¶ 9. Ms. Menzies explained that GLG was discussing potential
 6   representation of Ms. Higgins but did not represent Ms. Higgins yet, and requested the
 7   extension to allow Ms. Higgins time to obtain counsel to represent her in these two
 8   lawsuits. Id., ¶ 10 and Ex. A. Defendant replied, refusing to stipulate to an extension and
 9   refusing further communication without evidence of a signed retainer agreement. Id., ¶
10   11 and Ex. B. After Ms. Menzies talked on the phone with an attorney from the firm
11   representing Plaintiffs, they confirmed that Plaintiffs would not agree to an extension.
12   Id., ¶¶ 12-13.
13           GLG is continuing to review the Tull v. Higgins lawsuits and having discussions
14   with potential co-counsel, but has not yet determined whether they will be representing
15   Ms. Higgins in these cases. However, GLG has agreed to represent Ms. Higgins for the
16   limited purpose of moving the Court for an extension to answer or otherwise respond to
17   the complaint so that she may secure representation for her defense in both cases. Id., ¶
18   16.
19           THE COURT SHOULD EXTEND DEFENDANT’S TIME TO RESPOND
20           Because Ms. Higgins files this Motion before her current deadline for filing a
21   responsive pleading has expired, “the court may, for good cause, extend the time” for
22   filing a responsive pleading. Fed. R. Civ. P. 6(b)(1)(A). “‘Good cause’ is a non-rigorous
23   standard that has been construed broadly across procedural and statutory contexts.”
24   Ahanchian v. Xenon Pictures, Inc., 624 F.3d 1253, 1259 (9th Cir. 2010). “[R]equests for
25   extensions of time made before the applicable deadline has passed should ‘normally . . . be
26   granted in the absence of bad faith on the part of the party seeking relief or prejudice to
27   the adverse party.’” Id. (citation omitted).
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 1         As set forth in more detail in the accompany declaration to this motion, good cause
 2   exists for the requested extension because this case involves numerous complex factual
 3   and legal issues. See Menzies Decl. The requested extension will allow Ms. Higgins time
 4   to obtain counsel and for counsel to review the factual and legal issues prior to filing an
 5   answer or other response. Ms. Higgins and counsel have acted diligently in reviewing the
 6   case, and Plaintiffs will not be prejudiced by the requested extension. In addition, there
 7   have been no previous requests for or extensions to the deadline for responding to the
 8   Complaint, and the requested extension would have no effect on any other scheduled
 9   deadlines in this case. Menzies Decl., ¶¶ 17-19.
10                                         CONCLUSION
11         For the foregoing reasons, Defendant respectfully requests that the Court grant
12   her motion for an extension of thirty days to answer or otherwise respond to the
13   complaint.
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16                                           Respectfully submitted,
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     Dated: March 24, 2021                   /s/ Karen Barth Menzies
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